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13
                           UNITED STATES DISTRICT COURT
14                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15

16                                                        Master File No. 3:16-CV-03044-L-MDD
      IN RE ILLUMINA, INC.
17    SECURITIES LITIGATION
                                                          MEMORANDUM OF POINTS AND
18                                                        AUTHORITIES IN SUPPORT OF
                                                          DEFENDANTS’ MOTION TO
19                                                        DISMISS AMENDED COMPLAINT
20
                                                          Date and Time: Stipulated Alternate
21                                                        Briefing Schedule (see ECF Doc. 26)
22                                                        Courtroom: 5B
23                                                        Hon. M. James Lorenz
24

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28
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 1                                      PRELIMINARY STATEMENT
 2         Defendant Illumina, Inc. (“Illumina” or the “Company”) is a pioneer in the field of
 3   genetic sequencing, genotyping, and gene expression equipment.                      Its breakthrough
 4   products allow researchers, medical practitioners and others to analyze genetic material at
 5   vastly greater speeds and lower costs than ever before. Because it operates in a highly
 6   specialized and rapidly evolving market — one in which demand for its products turns on
 7   many variables such as changes in technology, new product introductions, and the
 8   availability of government grants and research funding to its customers — future sales
 9   trends are difficult to predict. The Company nevertheless provides investors with good
10   faith forecasts of future earnings, while warning that, as with any projections, there are
11   many reasons its guidance might not prove accurate.
12         This action arises out of a quarter in which Illumina fell short of its earnings
13   guidance. On October 10, 2016, Illumina announced that its 2016 third quarter revenue
14   was approximately $607 million, a 10 percent increase over the third quarter of 2015, but
15   lower than its projection of $625-30 million. Illumina’s stock dropped following the
16   announcement, and litigation followed. With the benefit of 20/20 hindsight, Plaintiffs
17   allege that Illumina committed fraud by failing to predict its future earnings accurately.
18   The claim fails because the securities laws do not demand clairvoyance.
19         The Private Securities Litigation Reform Act of 1995 (“PSLRA”) was enacted to
20   curb frivolous securities litigation. One of the principal protections that it offers against
21   abusive claims is a “safe harbor” for forward-looking statements. 15 U.S.C. § 78u–5(c)(1);
22   id. § (i)(1)(A). The safe harbor bars any claim for securities fraud that is based — like
23   Plaintiffs’ claims here — on forward-looking statements that were identified as such and
24   accompanied by meaningful cautionary language. Id. § (c)(1)(A). Indeed, even if a
25   forward-looking statement is not identified as forward-looking or is not accompanied by
26   adequate cautionary language, the safe harbor bars all liability for the statement unless a
27   plaintiff pleads and proves that it was made with “actual knowledge” that it was false. Id.
28   § (c)(1)(B). These two prongs of the “safe harbor” were enacted for the explicit purpose
                                                        1
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 1   of barring claims of fraud-by-hindsight, and they defeat Plaintiffs’ claims here. All of
 2   Illumina’s earnings projections were identified as forward-looking and accompanied by
 3   meaningful cautionary language, bringing them squarely within the safe harbor. Even if
 4   they had not been, liability would be barred because Plaintiffs’ Complaint fails to plead
 5   any facts demonstrating that any Defendant had “actual knowledge” that the projections
 6   would prove inaccurate.
 7           Perhaps because the safe harbor is such a clear bar to liability, Plaintiffs lard their
 8   Complaint with another theory — the allegation that Sarbanes-Oxley certifications signed
 9   by Illumina executives during the putative class period were fraudulent, because they
10   purportedly failed to disclose that Illumina’s processes for forecasting sales and revenue
11   allegedly were materially flawed. The claim fails because Plaintiffs do not identify any
12   internal control deficiency, or any inaccuracy in Illumina’s financial statements, that
13   rendered the Sarbanes-Oxley certifications false or misleading.                     Moreover, even if
14   Plaintiffs could identify such a deficiency, the Complaint utterly fails to plead that any of
15   the Defendants acted with scienter, an essential element of any securities fraud claim under
16   Section 10(b). The PSLRA requires that Plaintiffs plead “with particularity” facts giving
17   rise to a “strong inference” that the defendant acted with the required state of mind. 15
18   U.S.C. § 78u–4(b)(2). As explained in detail below, Plaintiffs’ vague and conclusory
19   allegations of scienter fall far short of the mark.
20
                                      BACKGROUND AND ALLEGATIONS
21

22   I.      The Illumina Parties
23           Illumina is a pioneering biotechnology company that creates and manufactures
24   genetic sequencing, genotyping, and gene expression equipment. See Amended Complaint
25   ¶¶ 19-22, ECF No. 28 (hereinafter “Compl.”); see also generally Ex. 1, Illumina, Inc.
26   Annual Report on Form 10-K for year ending Jan. 3, 2016 (“Illumina 2015 10-K”), at 7-
27

28
                                                          2
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 1   8.1 Illumina’s technological innovations allow research scientists, medical practitioners,
 2   and other professionals in a diverse range of fields to study genetic material at greater
 3   speeds and dramatically lower costs than was possible in the past. See id.
 4            Individual Defendants Francis A. deSouza and Marc A. Stapley (the “Individual
 5   Defendants”) are Illumina executives. Mr. deSouza joined Illumina as its President in 2013
 6   and was elevated to Chief Executive Officer in 2016. Mr. Stapley joined Illumina in 2012
 7   and is currently the Executive Vice President and Chief Administrative Officer, having
 8   previously served as the Company’s Chief Financial Officer.
 9
     II.      Illumina’s Business and Products
10
              Genetic sequencing, at its most basic level, is the process of determining the order
11
     of nucleotide bases within a DNA sample. See Compl. ¶ 20; Ex. 1, Illumina 2015 10-K at
12
     5. Illumina develops and manufactures a variety of integrated systems, consumables, and
13
     analysis tools that are designed to accelerate and simplify genetic analysis. See Compl. ¶¶
14
     20-21; see also Ex. 1, Illumina 2015 10-K, at 5. Its customers include genomic research
15
     centers, academic institutions, government laboratories, and hospitals, as well as
16
     companies in a broad range of fields from pharmaceuticals to biotechnology and consumer
17
     genomics. See Compl. ¶ 19; see also Ex. 1, Illumina 2015 10-K, at 4.
18
              Illumina manufactures a variety of genetic sequencing instruments that are designed
19
     for different applications in different settings. The HiSeq system is a powerful, production-
20
     scale, high-throughput sequencing system. See Compl. ¶¶ 20, 60. In January 2014,
21
     Illumina introduced the HighSeq X and NextSeq systems. Compl. ¶ 59. Like the HiSeq,
22

23   1
           Exhibits cited herein are attached to the Declaration of Mark P. Gimbel in support
24   of Defendants’ Motion to Dismiss and consist of public filings that are incorporated in the
25
     Complaint by reference or other materials of which the Court may take judicial notice. See
     15 U.S.C. § 78u-5(e) (“On any motion to dismiss based upon [the safe harbor for forward-
26   looking statements], the court shall consider any statement cited in the complaint and any
27   cautionary statement accompanying the forward-looking statement, which are not subject
     to material dispute, cited by the defendant.”); In re Am. Apparel, Inc. S'holder Litig., 855
28   F. Supp. 2d 1043, 1061-62 (C.D. Cal. 2012) (court may take judicial notice of SEC filings).
                                                           3
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 1   the HiSeq X is also a production-scale, high-throughput system. Id. However, it offers
 2   distinct cost advantages for sequencing whole genomes. See Compl. ¶¶ 59-60. NextSeq
 3   is a desktop model, well-suited for smaller research laboratories, that performs a variety of
 4   sequencing functions at substantially lower cost. See id. ¶ 22, 59. The Company also
 5   manufactures “devices known as arrays,” which “provide DNA analysis functions, but on
 6   a smaller scale than Illumina’s ‘sequencing’ devices.” Compl. ¶ 21.
 7         Although instrument sales are a significant part of its business, Illumina generates
 8   most of its revenue from “consumables” (such as reagents, flow cells, and microarrays)
 9   that are used with Illumina’s instruments. See generally Ex. 1, Illumina 2015 10-K, at 7.
10   Consumable revenue has in recent periods represented a large majority of the Company’s
11   earnings.    See, e.g., Compl. ¶ 34 (reporting that, in the second quarter of 2016,
12   “[c]onsumable revenue represented 63% of total revenue”).
13         Illumina’s high throughput genetic sequencing instruments are complex,
14   sophisticated pieces of equipment that sell at high prices per unit. As a result, the sale of a
15   handful of units less than forecast can impact projected revenue substantially. See Compl.
16   ¶ 26 (shipment of 19 fewer HiSeq instruments produced $14 million less revenue than
17   anticipated, contributing to overall shortfall of $9 million). Sales and revenue projections
18   are also subject to numerous other uncertainties that Illumina warns investors about in its
19   public filings with the Securities and Exchange Commission (“SEC”). These include “risks
20   relating to product transitions,” such as the “inability to accurately forecast demand” with
21   respect to both new and pre-existing products; the “timing of introduction of new products
22   or services relative to competing products and services”; the “availability, quality, and
23   price” of Illumina products “relative to competing products and services”; “the research
24   and development budgets and government funding” of Illumina customers; the difficulty
25   of predicting the “timing and magnitude of sales” of products and services; and the fact
26   that “revenue generation” is “normally not linear,” but concentrated heavily in “the final
27   weeks of [a] quarter.” Ex. 1, Illumina 2015 Form 10-K, at 11-22.
28
                                                        4
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1           In addition to disclosing these risks in its public filings, the Company provides
 2    relevant perspective in earnings conference calls. In May of 2016, for example, the
 3    Company conducted a conference call to discuss its first quarter earnings, and commented
 4    on the impact of new product introductions on earnings estimates, noting that HiSeq sales
 5    for the quarter were less than projected for various reasons, including “customers opting to
 6    purchase NextSeq’s” instead. See Compl. ¶ 26; Ex. 2, Q1 2016 Illumina Inc. Edited
 7    Earnings Call Transcript (May 3, 2016) (hereinafter “May 3, 2016 Earnings Call
 8    Transcript”), at 3.
 9
      III.   Illumina’s Third Quarter 2016 Earnings
10
             On October 10, 2016, Illumina issued a press release announcing estimated 2016
11
      third quarter revenue of approximately $607 million — an amount that was a 10 percent
12
      increase over the third quarter of 2015, but lower than the Company’s projected earnings
13
      of $625-30 million. See Compl. ¶ 52. During an investor teleconference that same day,
14
      Mr. deSouza explained that “[t]he primary driver of this miss was high throughput
15
      instrument sales . . . . HiSeq 2500 and 4000 orders . . . were lower than expected, and we
16
      closed one less HiSeq X system deal than anticipated.” Id. ¶ 53.
17
             On November 1, 2016, Illumina hosted an investor call to provide additional
18
      perspective on its third quarter revenues. On the call, Mr. deSouza confirmed that some of
19
      the shortfall resulted from “legacy HiSeq customers favoring the HiSeq X and NextSeq
20
      platforms.” Ex. 3, Q3 2016 Illumina Inc. Edited Earnings Call Transcript, at 3 (Nov. 1,
21
      2016) (hereinafter, “November 1, 2016 Earnings Call Transcript”); see also Compl. ¶ 59.
22
      He also discussed other factors that influenced the earnings miss, including delays in
23
      projected shipments of HiSeq X instruments due to “customer-specific situations” and
24
      changes in government funding practices.               Ex. 3, November 1, 2016 Earnings Call
25
      Transcript, at 3 (noting that approximately 35 HiSeq X instruments that were previously
26
      forecast to ship in the second half of 2016 had now “moved out of the second half”). In
27
      order to better account for such trends, the Company announced that it would institute a
28
                                                         5
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1    new forecasting project to achieve better “visibility and predictability of the pipeline,” to
 2    “improv[e] the market insights that we have,” and to connect those insights “to the
 3    forecasted pipeline.” Compl. ¶ 60.
 4             Following the Company’s third quarter earnings announcement on October 10,
 5    2016, the price of Illumina’s common stock dropped, falling from $184.85 per share on
 6    October 10, 2016 to $138.99 on October 11 and $136.18 on October 12. Id. ¶ 54. The
 7    stock has since recovered, hitting a post-class period high of $188.85 on May 4, 2017.2
 8    Despite the strong performance of Illumina shares, Plaintiffs in this action seek to recover
 9    purported damages for the brief stock drop that occurred following the Company’s third
10    quarter 2016 earnings miss.
11
      IV.      The Challenged Statements
12
               Plaintiffs allege that Illumina made several false or misleading statements in the
13
      months prior to the October 10, 2016 announcement that it would not meet its third quarter
14
      2016 earnings guidance. These fall into two categories: (A) sales and revenue projections
15
      for the third quarter of 2016 and related statements, and (B) Sarbanes-Oxley certifications
16
      signed by the Individual Defendants attesting to the accuracy of the Company’s internal
17
      controls over financial reporting.
18
               A.      Second Quarter 2016 Earnings Guidance
19
               On July 26, 2016, Illumina issued financial outlook and guidance for the third
20
      quarter of 2016. See Compl. ¶ 31; see also Ex. 4, Press Release, Illumina Reports Financial
21
      Results for Second Quarter of Fiscal Year 2016 (July 26, 2016) (hereinafter, “July 26, 2106
22
      Earnings Release”), at 2. The Company projected that third quarter revenue would grow
23
      by twelve percent, to $625 to $630 million. See Compl. ¶ 31; see also Ex. 4, July 26, 2016
24
      Earnings Release, at 2.
25

26

27
      2
             See Wall Street Journal, Illumina Inc., available at http://quotes.wsj.com/ILMN
28    (last visited July 31, 2017).
                                                            6
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1          During an investor call later that day, Mr. deSouza explained that the forecast was
 2    based in part on the expectation that sales of HiSeq X instruments would remain robust and
 3    that sales of HiSeq instruments would increase during the latter part of the year:
 4          Going forward, our HiSeq X outlook remains robust at 20 or 30 instrument
 5          orders per quarter, and we expect to see an increase in HiSeq placements in
            the Americas during the latter part of this year, which is supported by a solid
 6          pipeline.
 7    Compl. ¶ 33; see also Ex. 5, Q2 2016 Illumina Inc. Edited Earnings Call, July 26, 2016
 8    (hereinafter, “July 26, 2016 Earnings Call Transcript”), at 4. In the ensuing question and
 9    answer session with analysts, Mr. deSouza and Mr. Flatley made various other statements
10    reiterating the revenue guidance and the assumptions behind it, including the Company’s
11    projection that there “would be further strength, especially in the HiSeq line, as we get
12    towards the end of the year.” Compl. ¶ 36; see also id. ¶ 34 (“[W]e continue to expect to
13    see an uptick in the second half, primarily Q4 in the Americas,” in HiSeq sales); id. ¶ 40
14    (“We understand their business, and the demands on their business, and that’s what allows
15    us to project when we think they’ll be needing [HiSeq] instruments . . . .”).
16          Plaintiffs allege that the guidance and related statements misleadingly “provided
17    investors with the impression that [Defendants] possessed the capability to accurately
18    forecast sales and revenue.” Id. ¶ 35. However, the Company warned, both in its written
19    earnings guidance, and at the outset of the earnings call, that all of its “[f]orward-looking
20    statements are subject to risks and uncertainties” that might cause “[a]ctual events or
21    results” to “differ materially from those projected or discussed.” Ex. 5, July 26, 2016
22    Earnings Call Transcript, at 2-3; Ex. 4, July 26, 2016 Earnings Release, at 3. “To better
23    understand the risks and uncertainties that could cause actual results to differ,” the
24    Company referred investors to “the documents that Illumina files with the Securities and
25    Exchange Commission, including Illumina’s most recent Forms 10-Q and 10-K.” Ex. 5,
26    July 26, 2016 Earnings Call Transcript, at 3.
27          These filings, in turn, include very detailed disclosure of a variety of risks bearing
28    on earnings projections. Illumina’s Form 10-K, for example, contains eleven pages of
                                                         7
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 1    discussion of the risk factors that could adversely affect Illumina’s financial performance.
 2    See Ex. 1, 2015 Form 10-K, at 11-22. Among these is an explicit warning that Illumina
 3    faces various difficulties in forecasting customer demand, including difficulties arising
 4    from product transitions: “When we introduce or announce new or enhanced products, we
 5    face numerous risks relating to product transitions, including the inability to accurately
 6    forecast demand (including with respect to our existing products).” Id. at 11.
 7          Plaintiffs further allege that Illumina’s earnings guidance was false or misleading
 8    because “[c]ustomer preferences for newer HiSeq models had already begun to negatively
 9    impact the company’s sales and revenue,” and “Defendants internal controls and
10    forecasting processes either failed to account for the trend or, alternatively, Defendants
11    deliberately ignored it.” Compl. ¶ 35. The Complaint, however, does not plead facts
12    showing that any Defendant knew, as of the date of the earnings guidance, that customer
13    preferences for “newer HiSeq” models would impact earnings in an amount sufficient to
14    make Illumina’s earnings guidance unattainable.              Nor does the Complaint plead facts
15    showing that such a trend was “deliberately ignored.” To the contrary, the earnings call
16    Plaintiffs quote in the Complaint shows that the Company was taking into account product
17    transitions in its forecasting, noting that “we removed approximately 45 HiSeqs from our
18    installed base in the second quarter, reflecting the units taken off-line due to adoption of
19    newer machines.” Ex. 5, July 26, 2016 Earnings Call Transcript, at 5 (emphasis added).
20          In addition to challenging the Company’s formal earnings guidance, Plaintiffs assert
21    that subsequent statements of Mr. Stapley, on an investor conference call during the
22    Morgan Stanley Global Healthcare Conference on September 13, 2013, misleadingly
23    “reaffirmed Illumina’s previously stated projections for the third quarter of fiscal 2016.”
24    Compl. ¶ 49. Specifically, Mr. Stapley stated:
25          [W]e’ve provided guidance on the second quarter earnings call that implied
26          a sequential growth in Q3 and a sequential growth from that point into Q4
            and part of that is driven by the backlog of HiSeq X’s that we have now
27          booked into our order system at this point in time; some of which is driven
28
                                                         8
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 1
             by strength in China and we [cited] 30 systems per quarter in Q3 and Q4 of
 2           HiSeq X; that’s individual units of X.
 3    Id. ¶ 49.
 4           According to the Complaint, these statements “created the false impression that
 5    Illumina possessed the internal controls and insight into the company’s sales pipeline to
 6    accurately project revenue.” Id. ¶ 50. However, investors were reminded at the outset of
 7    the call about the risks of forward-looking statements. Ex. 6, Edited Transcript Illumina
 8    Inc. at Morgan Stanley Global Healthcare Conference, at 2 (Sept. 13, 2016) (hereinafter,
 9    “Morgan Stanley Investor Call Transcript”) (“Before I get into some opening statements
10    I’d just like to remind everybody about our Safe Harbor Statement.”). The written
11    transcript of the call further cautioned that “forward-looking statements are based upon
12    current expectations and involve risks and uncertainties” and that “[a]ctual results may
13    differ materially from those stated in any forward-looking statement based on a number of
14    important factors and risks, which are more specifically identified in the companies’ most
15    recent SEC filings.” Id. at 11.
16           B.     Sarbanes-Oxley Certifications
17           On August 2, 2016, Illumina filed its quarterly report on Form 10-Q for the second
18    quarter of 2016. See Compl. ¶ 45. The report contained Sarbanes-Oxley certifications
19    signed by Mr. deSouza and Mr. Stapley, providing, inter alia, that:
20            based on the knowledge of the certifying party, “this [Form 10-Q]
21             report does not contain any untrue statement of a material fact or
               omit to state a material fact necessary to make the statements made,
22             in light of the circumstances under which such statements were
23             made, not misleading with respect to the period covered by this
               report”;
24
              the certifying parties had “designed such internal control over
25             financial reporting, or caused such internal control over financial
26             reporting to be designed under our supervision, to provide
               reasonable assurance regarding the reliability of financial reporting
27             and the preparation of financial statements for external purposes in
28             accordance with generally accepted accounting principles”; and
                                                         9
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 1
             based on their “most recent evaluation of internal control over
 2            financial reporting,” the certifying parties had disclosed to the
              Company’s auditors and board of directors “all significant
 3
              deficiencies and material weaknesses in the design or operation of
 4            internal control over financial reporting which are reasonably likely
              to adversely affect the registrant’s ability to record, process,
 5
              summarize, and report financial information.”
 6
      Id. (emphasis from Complaint removed and restored to original).
 7
            Plaintiffs allege that these statements were materially misleading because they failed
 8
      to mention “the fact that Defendants’ processes relating to forecasting sales and/or revenue
 9
      were materially flawed.” Id. ¶ 46. The Complaint does not, however, identify a specific
10
      internal control deficiency or explain how, if at all, such a deficiency impacted the
11
      Company’s sales or revenue forecasts. Nor does it identify any inaccuracy in the quarterly
12
      financial report to which the Sarbanes-Oxley certifications were attached, which contained
13
      no sales or revenue projections.
14

15                                                ARGUMENT

16          To survive a motion to dismiss pursuant to Rule 12(b)(6), a securities fraud

17    complaint must adequately allege: “‘(1) a material misrepresentation or omission by the

18    defendant; (2) scienter; (3) a connection between the misrepresentation or omission and

19    the purchase or sale of a security; (4) reliance upon the misrepresentation or omission;

20    (5) economic loss; and (6) loss causation.’” Police Ret. Sys. of St. Louis v. Intuitive

21    Surgical, Inc., 759 F.3d 1051, 1057 (9th Cir. 2014) (quoting Halliburton Co. v. Erica P.

22    John Fund, Inc., 134 S. Ct. 2398, 2407 (2014)). These elements may not be pleaded in

23    vague or conclusory fashion. Rather, under the Supreme Court’s decisions in Iqbal and

24    Twombly, a complaint “‘is properly dismissed if it fails to plead enough facts to state a

25    claim to relief that is plausible on its face.’” In re Cutera Sec. Litig., 610 F.3d 1103, 1107

26    (9th Cir. 2010) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); see also

27    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

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 1          This pleading standard is heightened in a securities fraud case because of the
 2    demanding pleading requirements imposed by Rule 9(b) of the Federal Rules of Civil
 3    Procedure and the PSLRA. Rule 9(b) requires a plaintiff to plead “with particularity the
 4    circumstances constituting fraud.” Fed. R. Civ. P. 9(b). Under the rule, a plaintiff must
 5    specify “the who, what, when, where, and how” of the fraud and “set forth what is false
 6    or misleading about a statement, and why it is false.” Vess v. Ciba-Geigy Corp. USA, 317
 7    F.3d 1097, 1106 (9th Cir. 2003) (quotations omitted).                    The heightened pleading
 8    requirements of Rule 9(b) are intended to protect defendants from the significant harm to
 9    reputation “that comes from being subject to fraud charges.” Id. at 1104.
10          The PSLRA goes further, imposing even more “[e]xacting pleading requirements”
11    that were designed as a “check against abusive litigation by private parties.” Tellabs, Inc.
12    v. Makor Issues & Rights, Ltd., 551 U.S. 308, 313 (2007). The statute provides that a
13    securities fraud complaint must “specify each statement alleged to have been misleading,
14    the reason or reasons why the statement is misleading, and, if an allegation regarding the
15    statement or omission is based on information and belief, the complaint shall state with
16    particularity all facts on which that belief is formed.” 15 U.S.C. § 78u-4(b)(1). In addition,
17    the complaint must, “with respect to each act or omission alleged . . . , state with
18    particularity facts giving rise to a strong inference that the defendant acted with the
19    required state of mind.” 15 U.S.C. § 78u-4(b)(2)(A) (emphasis added). The required state
20    of mind is scienter — “‘a mental state embracing intent to deceive, manipulate, or
21    defraud.’” Police Ret. Sys. of St. Louis, 759 F.3d at 1061 (quoting Ernst & Ernst v.
22    Hochfelder, 425 U.S. 185, 193 n. 12 (1976)).
23          “Forward-looking statements like the earnings projections are further insulated from
24    liability.” Cutera, 610 F. 3d at 1108. “Earnings projections identified as forward-looking
25    statements and accompanied by meaningful cautionary language fall within the PSLRA
26    safe harbor” and are completely insulated from liability without regard to a defendant’s
27    state of mind. Id. Even forward-looking statements that are not identified as such and are
28    not accompanied by cautionary language are not actionable, “unless they were ‘made with
                                                        11
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 1    actual knowledge . . . that [they were] false or misleading.’” Id. (citing 15 U.S.C. §§ 78u-
 2    5(c)(1)(A)(i), 78u-5(c)(1)(B)(i) & (ii)(II)). “Actual knowledge” is an even higher level of
 3    scienter than applies to a typical securities fraud claim. See In re Petco Animal Supplies,
 4    Inc. Sec. Litig., No. 05-CV-0823, 2006 WL 6829623, at *27 (S.D. Cal. Aug. 1, 2006).
 5            As explained in detail below, Plaintiffs’ Complaint fails to meet these exacting
 6    standards for pleading securities fraud.
 7    I.      PLAINTIFFS’ CLAIMS BASED ON ILLUMINA’S EARNINGS
 8            GUIDANCE ARE BARRED BY THE PSLRA’S SAFE HARBOR.

 9
              Congress enacted the PSLRA to “eliminate abusive and opportunistic securities

10
      litigation and to put an end to the practice of pleading fraud by hindsight.” Gompper v.

11
      VISX, Inc., 298 F.3d 893, 897 (9th Cir. 2002). The statute accordingly provides a safe

12
      harbor for “forward-looking statements” that insulates such statements from liability even

13
      when they prove inaccurate in retrospect. See 15 U.S.C. §§ 78u–5(c), (i)(1)(A). Here,

14
      Illumina’s third quarter 2016 earnings guidance, and the related statements challenged in

15
      the Complaint, all fall squarely within the statutory safe harbor.

16            A.      The Challenged Statements Are All Forward-Looking in Nature.
17            The PSLRA defines a forward-looking statement as, inter alia, “a statement
18    containing a projection of revenues, income (including income loss), earnings (including
19    earnings loss) per share, capital expenditures, dividends, capital structure, or other financial
20    items.” 15 U.S.C. § 78u–5(i)(1)(A); see also Cutera, 610 F.3d at 1111. The statutory
21    definition also extends to “any statement of the assumptions underlying or relating to any
22    statement” regarding such projections. 15 U.S.C. § 78u–5(i)(1)(D).
23            Plaintiffs’ claims relating to Illumina’s earnings guidance are based on statements
24    that all fall comfortably within the definition of forward-looking statements. Each of the
25    challenged statements relates to Illumina’s projected earnings and related assumptions,
26    including the Company’s forecast of when customers would place orders for sequencing
27    instruments and which units they would acquire. See, e.g., Compl. ¶ 31 (“For the third
28    quarter 2016, the Company is projecting revenue of $625 million to $630 million.”)
                                                          12
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 1    (emphasis added); id. ¶ 33 (“we expect to see an increase in HiSeq placements in the
 2    Americas during the latter part of this year”) (emphasis added); id. ¶ 34 (“We are
 3    forecasting Q3 revenue of $625 million to $630 million . . . .”) (emphasis added); id. ¶ 36
 4    (“If we look at the back half of the year, we expect to see further strength . . . .” (emphasis
 5    added); id. ¶ 40 (“that’s what allows us to project when we think they’ll be needing
 6    instruments”) (emphasis added). These statements “[are] by definition . . . forward-looking
 7    statement[s].”    Cutera, 610 F.3d at 1111.             They are “classic growth and revenue
 8    projections, which are forward-looking on their face.” Police Ret. Sys. of St. Louis, 759
 9    F.3d at 1058.
10          B.      The Defendants’ Forward-Looking Statements Are Not Actionable Because
11                  They Were Identified as Such and Accompanied by Cautionary Language.

12
            Under the first prong of the safe harbor, a forward-looking statement that is

13
      identified as such and accompanied by meaningful cautionary language is completely

14
      insulated from liability without regard to the defendants’ state of mind. See Cutera, 610

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      F.3d at 1112 (holding that such statements are not actionable “regardless of the plaintiff’s

16
      showing of scienter”); 15 U.S.C. § 78u–5(c)(1)(A)(i). This prong of the safe harbor is fatal

17
      to Plaintiffs’ claims, because all of the forward-looking statements at issue were identified

18
      as forward-looking and accompanied by meaningful cautionary statements.

19
            Illumina’s third quarter 2016 earnings guidance, and the other related statements that

20
      Plaintiffs challenge in the Complaint, were all prefaced or accompanied by warnings

21
      alerting investors to the forward-looking nature of the information provided. Illumina’s

22
      written earnings guidance, for example, included a statement that it “contains projections,

23
      information about our financial outlook, earnings guidance, and other forward-looking

24
      statements that involve risks and uncertainties.” Ex. 4, July 26, 2016 Earnings Release, at

25
      3. The July 26, 2016 investor conference call in which the Company elaborated on this

26
      guidance was likewise preceded by a statement informing investors that the discussion

27
      would include “forward-looking statements regarding expected financial results. ” Ex. 5,

28
      July 26, 2016 Earnings Call Transcript, at 2-3. The other investor conference calls

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 1    referenced in the Complaint included similar statements. See Ex. 2, May 3, 2016 Earnings
 2    Call Transcript, at 3; Ex. 6, Morgan Stanley Investor Call Transcript, at 2, 11. These
 3    statements were sufficient to identify all of the statements at issue as forward-looking in
 4    nature. See Gammel v. Hewlett-Packard Co., 905 F. Supp. 2d 1052, 1066 (C.D. Cal. 2012)
 5    (holding it sufficient that summit and earnings call participants were advised that
 6    defendants’ “statements might include forward looking information that involved risk,
 7    uncertainties and assumptions” and were directed to defendant’s “Form 10–Q for a more
 8    detailed description of relevant risks” (quotations omitted)).
 9          Each of the challenged statements was also accompanied by meaningful cautionary
10    language.    Illumina’s written earnings guidance for the third quarter of 2016 listed
11    numerous factors that might cause actual results to differ from projections, including:
12          (i) our ability to further develop and commercialize our instruments and
13          consumables and to deploy new products, services and applications, and
            expand the markets for our technology platforms; . . . (iv) the future conduct
14          and growth of the business and the markets in which we operate; [and] (v)
15          challenges inherent in developing, manufacturing, and launching new
            products and services . . . .
16
      Ex. 4, July 26, 2016 Earnings Release, at 3. It also referred investors to the Company’s
17
      “most recent filings on Forms 10-K and 10-Q” for additional factors that could “cause
18
      actual results to differ materially from those in any forward-looking statements . . . .” Id.
19
            The July 26 conference call in which the Company discussed its third quarter 2016
20
      earnings guidance was likewise preceded with an announcement that “[f]orward-looking
21
      statements are subject to risks and uncertainties” and that “[a]ctual events or results may
22
      differ materially from those projected or discussed.” Ex. 5, July 26, 2016 Earnings Call
23
      Transcript, at 2-3. Investors participating in the earnings call were informed that, “[t]o
24
      better understand the risks and uncertainties that could cause actual results to differ,” they
25
      should consult “the documents that Illumina files with the Securities and Exchange
26
      Commission, including Illumina’s most recent Forms 10-Q and 10-K.” Id. The other
27

28
                                                        14
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 1    investor calls at issue included substantially similar warnings. See Ex. 2, May 3, 2016
 2    Earnings Call Transcript, at 3; Ex. 6, Morgan Stanley Investor Call Transcript, at 11.
 3          The Company’s SEC filings in turn provided an even more extensive discussion of
 4    the risks and uncertainties involved in the Company’s earnings projections. Illumina’s
 5    Form 10-K for calendar year 2015, for example, contains eleven pages of discussion of
 6    numerous issues that could adversely affect Illumina’s financial performance. See Ex. 1,
 7    2015 Form 10-K, at 11-22. Among these are an explicit warning that Illumina faces
 8    particular difficulties in forecasting customer demand when new products such as the
 9    NextSeq and HiSeq X are introduced:
10          When we introduce or announce new or enhanced products, we face numerous
11          risks relating to product transitions, including the inability to accurately
            forecast demand (including with respect to our existing products).
12
      Id. at 11. The Company thus not only provided meaningful cautionary language warning
13
      investors about the risks of forward-looking statements, but disclosed the very risk that
14
      Plaintiffs claim was concealed — that Illumina might be unable to accurately predict the
15
      impact of new product introductions on sales of existing products.
16
            These statements clearly were sufficient to warn investors of the uncertainties and
17
      risks inherent in Illumina’s revenue projections. The Ninth Circuit repeatedly has found
18
      similar language sufficient to trigger the safe harbor. See, e.g., Police Retirement System,
19
      759 F.3d at 1059 (upholding adequacy of cautionary language providing that “[a]ctual
20
      results may differ materially from those expressed or implied,” as a result of “risks and
21
      uncertainties [that] are described in detail in the company's [SEC] filings”); see also
22
      Cutera, 610 F.3d at 1112 (approving cautionary language that “began with a notice that
23
      ‘these prepared remarks contain forward-looking statements concerning future financial
24
      performance and guidance,’ that ‘management may make additional forward-looking
25
      statements in response to[ ] questions,’ and that factors like Cutera’s ‘ability to continue
26
      increasing sales performance worldwide’ could cause variance in the results”).
27

28
                                                        15
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 1          In short, the Defendants’ statements concerning projected third quarter 2016
 2    earnings and related matters were all identified as forward-looking and accompanied by
 3    meaningful cautionary language. As a result, they are completely insulated from liability
 4    under the safe harbor. See Cutera, 610 F. 3d at 1111.
 5          C.      Even if the Forward-Looking Statements Were Insufficiently Identified or
 6                  Unaccompanied By Cautionary Language, the Safe Harbor Would Apply.

 7
            Even if the Court were to find that any of the forward-looking statements at issue

 8
      were inadequately identified, or unaccompanied by sufficient cautionary language, it

 9
      would make no difference. Under the second prong of the safe harbor, even an unidentified

10
      forward-looking statement — or one unaccompanied by cautionary language — is

11
      protected unless “made with actual knowledge . . . that the statement was false or

12
      misleading. 15 U.S.C. § 78u–5(c)(1)(B) (emphasis added); see also City of Royal Oak Ret.

13
      Sys. v. Juniper Networks, Inc., 880 F. Supp. 2d 1045, 1062–63 (N.D. Cal. 2012).

14
            A plaintiff who alleges that a forward-looking statement was made with actual

15
      knowledge of falsity “must plead, in great detail, all the facts forming the basis for their

16
      belief that defendants made the forward-looking statements with actual knowledge that

17
      they were false.” In re Splash Tech. Holdings, Inc. Sec. Litig., 160 F. Supp. 2d 1059, 1069

18
      (N.D. Cal. 2001) (quotations omitted); see also In re Quality Sys., Inc. Sec. Litig., 60 F.

19
      Supp. 3d 1095, 1097, 1103 (C.D. Cal. 2014) (allegations that defendants “had access to

20
      real-time data on QSI’s revenues and earnings and thus knew that QSI’s sales and sales

21
      prospects were declining” were conclusory and insufficient to demonstrate actual

22
      knowledge). Here, the Complaint is bereft of factual allegations establishing that any of

23
      the Defendants knew that any forward-looking statement was false when made.

24
            Plaintiffs allege that the Defendants knew or should have known that HiSeq

25
      instrument sales were declining at the time they released Illumina’s earnings guidance,

26
      Compl. ¶ 3, but this allegation does not establish that the Defendants knew the Company’s

27
      overall earnings guidance — which encompassed many products and services — was

28
      false. Even assuming that the Defendants were aware of a decline in HiSeq sales, it would

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 1    not necessarily follow that Illumina could not meet its earnings guidance in light of other
 2    sources of revenue. In In re Leapfrog Enterp. Sec. Litig., for example, the plaintiffs argued
 3    that the defendants had actual knowledge that the company’s earnings guidance was false
 4    because they were aware that the introduction of a competing product was “severely
 5    impacting . . . sales growth.” 527 F. Supp. 2d 1033, 1047 (N.D. Cal. 2007) (alteration in
 6    original). The Court rejected the argument, because the mere fact that the defendants were
 7    aware of this negative trend did not necessarily “render any of the specific predictive
 8    statements false when made.” Id.
 9          The same is true here. Even assuming that the Defendants were aware of declining
10    HiSeq sales, it would not necessarily have led them to conclude that the Company’s
11    earnings guidance was inaccurate. The Defendants could instead have concluded that the
12    earnings projections were attainable either because they did not believe the decline in
13    HiSeq sales would continue or because other positive trends — such as projected increases
14    in sales of other instruments or of the consumables that constitute a majority of the
15    Company’s business — would allow the Company to meet its earnings forecasts. See In
16    re Leapfrog, 200 F. Supp. 3d 987, 1005 (N.D. Cal. 2016) (allegations insufficient to
17    establish knowledge that inventory projections were false where complaint failed to negate
18    alternative explanation that “Defendants may well have been anticipating that the inventory
19    was going to move more quickly over the next two or three months”).
20          Bodri v. GoPro, Inc., __ F. Supp. 3d ___, 2017 WL 1732022 (C.D. Cal. May 1,
21    2017) provides a useful example. There, the plaintiff alleged that GoPro’s overall quarterly
22    earnings guidance was false, because it knew at the time of the earnings projections that
23    sales of a new product — the GoPro “Sessions” — were “lagging.” Id. at *2, 11. The
24    Court rejected the argument and dismissed the claim, holding that Plaintiffs had failed to
25    allege facts establishing that the Defendants “had actual knowledge that GoPro’s guidance
26    was false or could not be met when issued.” Id. at 11. In particular, the complaint failed
27    to allege any facts showing that “[s]trong Session sales were instrumental to the guidance,
28    and were being knowingly overstated, or that Defendants were in possession of sales
                                                        17
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 1    forecasts that would render their guidance misleading or false.” Id. (quotations omitted).
 2    Here, as in GoPro, the Complaint fails to allege facts showing that the Illumina’s forecasts
 3    of HiSeq sales were both instrumental to its earnings guidance, which encompassed many
 4    other products, and knowingly overstated.3 The Complaint thus fails to allege actual
 5    knowledge that the guidance was false.
 6           Indeed, Plaintiffs themselves tacitly admit that the Defendants lacked actual
 7    knowledge that the purported HiSeq sales trend would prevent the Company from attaining
 8    its projected results. Instead of pleadings facts demonstrating that the Defendants knew
 9    that this purported trend would render it impossible for the Company to meet its earnings
10    guidance, the Complaint pleads that the trend went “unnoticed during the forecasting
11    process.” Id. ¶ 3 (emphasis added); see also id. ¶ 35 (alleging that forecasting processes
12    may have “failed to account for the trend”). If, as Plaintiffs allege, the Defendants failed
13    to notice this sales trend, or failed to account for it in their forecasts, then they plainly did
14    not have actual knowledge that the trend would render the Company’s earnings guidance
15    unattainable.
16           At bottom, Plaintiffs have alleged no facts to support their bald assertion that the
17    Defendants had actual knowledge that Illumina would miss its earnings guidance.
18    “Plaintiffs’ theory is basically an assertion of fraud by hindsight — judging the statements
19    on how things actually turned out subsequently.” In re Leapfrog, 200 F. Supp. 3d at 1005.
20    The Complaint thus fails to demonstrate that any defendant had actual knowledge that the
21    earnings guidance was inaccurate when issued. See generally In re VeriFone Sec. Litig.,
22
      3
23            In re Syntex Corp. Sec. Litig., 95 F.3d 922 (9th Cir. 1996) provides another useful
      example. In Syntex, plaintiffs alleged that predictions regarding FDA approval of a new
24
      product were misleading because of known deficiencies in the company’s testing
25    procedures. The court rejected the argument, reasoning that the “company could have
      known of problems in the testing procedures, planned to remedy those deficiencies, and
26
      still thought it would achieve FDA approval by the estimated date.” Id. at 930. Similarly,
27    here, even if Defendants were aware of declining HiSeq sales at the time of the earnings
      guidance, they could have concluded that sales would recover in the latter part of the year
28
      or that sales of other products and services sufficed to support the guidance.
                                                         18
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1    11 F.3d 865, 871 (9th Cir. 1993) (“The fact that [a] prediction proves to be wrong in
 2    hindsight does not render the statement untrue when made.”). Plaintiffs’ claims are thus
 3    barred by the safe harbor. See 15 U.S.C. § 78u–5(c)(1)(B).
 4
      II.      The Sarbanes-Oxley Certifications Are Not Actionable.
 5
               Plaintiffs’ Complaint is no more viable to the extent that it rests on the Sarbanes-
 6
      Oxley certifications appended to Illumina’s Form 10-Q for the second quarter of 2016. As
 7
      a threshold matter, it is far from clear that a Sarbanes-Oxley certification is actionable
 8
      under Section 10(b). Although the caselaw on the question is mixed, at least one district
 9
      court in this Circuit has held that there is “nothing in either the 1934 Securities Exchange
10
      Act or the Sarbanes-Oxley Act and implementing regulations that authorized plaintiffs to
11
      base a claim for securities fraud on an alleged misstatement in a Sarbanes-Oxley
12
      certification.” In re Silicon Storage Tech., Inc. Sec. Litig., 2007 WL 760535, at *17 (N.D.
13
      Cal. 2007); see also Backe v. Novatel Wireless, Inc., 642 F. Supp. 2d 1169, 1182 (S.D. Cal.
14
      2009) (observing that “Plaintiff does not cite, nor has the Court located, any case holding
15
      that a statement in a SOX certification that financial statements comply with GAAP is
16
      independently actionable under § 10(b) or Rule 10b–5”). Moreover, even assuming it is
17
      theoretically possible to bring such a claim, the Complaint here fails to do so because the
18
      factual allegations of the pleading fail to establish the essential elements of falsity and
19
      scienter with respect to any Sarbanes-Oxley certification.
20
               A.      The Complaint Fails to Adequately Plead the Falsity of Any Sarbanes-Oxley
21
                       Certification.
22             In Rok v. Indentiv, after assuming (without deciding) that a Sarbanes-Oxley
23    certification can give rise to liability under Section 10(b), the court held that a plaintiff
24    proceeding on such a theory must plead falsity with particularity by identifying the specific
25    statements in the certification that are alleged to be false or misleading and providing
26    “specific facts or reasons to show how each statement was false or misleading.” 2017 WL
27    35496, at *9 (N.D. Cal. 2017) (quotations omitted). Here, while the Complaint identifies
28    three statements in the Sarbanes-Oxley certifications that Plaintiffs claim were false or
                                                           19
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1    misleading, it is devoid of any factual allegations demonstrating “how each statement was
 2    false or misleading.” Id.
 3          First, Plaintiffs allege that it was misleading for the Individual Defendants to certify
 4    that the Company’s Form 10-Q “report [for the second quarter of 2016] does not contain
 5    any untrue statement of material fact or omit to state a material fact necessary to make the
 6    statements made, in light of the circumstances under which they were made, not misleading
 7    . . . .” Compl. ¶ 45. The allegation fails because it is entirely conclusory. The Complaint
 8    does not identify any “untrue statement of material fact” or material omission in the Form
 9    10-Q that would render this certification false. Indeed, the only alleged omission — that
10    “Defendants’ processes relating to forecasting sales and/or revenue were materially
11    flawed,” id. ¶ 46 — concerns a subject that is not even addressed in the referenced 10-Q,
12    which reports on actual results for the period, not forecasts of future earnings. See
13    generally Ex. 7, Illumina, Inc. Quarterly Report on Form 10-Q for Quarterly Period ending
14    July 3, 2016 (“Illumina 2Q16 10-Q”).
15          Second, Plaintiffs contend that it was misleading for the Individual Defendants to
16    certify that they had “designed such controls over financial reporting, or caused such
17    internal control over financial reporting to be designed” to provide “reasonable assurance
18    regarding the reliability of financial reporting and the preparation of financial statements
19    for external purposes in accordance with generally accepted accounting principles” — i.e.,
20    “GAAP.” Compl. ¶ 45. Again, the allegation is entirely conclusory. The Complaint fails
21    to plead any facts showing that the Individual Defendants failed to design (or cause the
22    design of) internal controls that provided reasonable assurance as to the reliability of
23    Illumina’s financial reporting or its compliance with GAAP. Nowhere in the Complaint
24    do Plaintiffs identify a specific internal control that the Defendants failed to implement; an
25    internal control that was weak or deficient in some particular respect; or any resulting
26    GAAP violation or other error in Illumina’s reported financial results.
27          Third, Plaintiffs assert that it was misleading to certify that “all significant
28    deficiencies and material weaknesses in the design or operation of internal control over
                                                        20
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1    financial reporting which are reasonably likely to affect” the Company’s “ability to record,
 2    process, summarize and report financial information” had been disclosed to Illumina’s
 3    auditors and the audit committee of its Board. Compl. ¶ 45. Again, however, the allegation
 4    is conclusory. Plaintiffs fail to identify any internal control deficiency that the certifying
 5    party failed to report to Illumina’s audit committee or outside auditors.
 6           Plaintiffs’ theory appears to be that, because Illumina missed its earnings guidance,
 7    it must have had inadequate internal controls. But this is just a claim of fraud by hindsight
 8    that is unsupported by factual allegations, logic, or common sense. Nobody can predict
 9    the future with certainty, and the mere fact that a defendant’s earnings projection for a
10    given period proves inaccurate in hindsight does not mean that its internal controls over
11    financial reporting were flawed. Cf. Nathanson v. Polycom, Inc., 87 F. Supp. 3d 966, 978
12    (N.D. Cal. 2015) (“Today, with the benefit of knowing the details of Miller’s misconduct
13    and the failure of Polycom’s internal controls to catch that misconduct, it might seem
14    misleading for Polycom to have stated its internal controls were adequate” but the court
15    cannot “simply assume” that “internal controls were inadequate” because fraud occurred;
16    even a “full set of supervisory mechanisms to oversee a company may fail to uncover
17    misconduct or fraud” (internal quotations omitted)).4
18           Pleading falsity with the particularity required by Rule 9(b) and the PSLRA demands
19    more. To demonstrate that a Sarbanes-Oxley certification was false, a plaintiff must plead
20    facts demonstrating falsity, such as a specific internal control deficiency that the defendant
21
      4
22            We are unaware of any caselaw supporting Plaintiffs’ assumption that a party may
23
      be held liable for falsely certifying “internal controls over financial reporting” based on
      alleged deficiencies in controls over financial forecasting — as opposed to controls over
24    the reporting of actual, historical financial results. Notably, the SEC release explaining
25
      Sarbanes-Oxley certification requirements makes no mention of earnings guidance and
      focuses on internal controls that relate to reporting of actual results, such as “controls over
26    initiating, recording, processing and reconciling account balances, classes of transactions
27    and disclosure and related assertions included in the financial statements . . . .” In Re
      Mgmt.'s Report on Internal Control over Fin. Reporting & Certification of Disclosure in
28    Exch. Act Periodic Reports, Release No. 8238 (June 5, 2003), 2003 WL 21294970, at *13.
                                                         21
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1    failed to disclose. See In re Braskem S.A. Sec. Litig., No. 15-cv-5132, 2017 WL 1216592,
 2    at *16 (S.D.N.Y. Mar. 30, 2017) (dismissing claim based on Sarbanes-Oxley certification
 3    where the complaint lacked “any concrete factual allegations that Braskem had deficient
 4    internal controls governing its financial reporting”); In re Gentiva Sec. Litig., 932 F. Supp.
 5    2d 352, 371 (E.D.N.Y. 2013) (dismissing claim based on Sarbanes-Oxley certification
 6    were plaintiff “has not alleged any facts pertaining to the Company's internal structure for
 7    financial reporting, much less that [it] lacked adequate internal controls” (internal
 8    quotations omitted)). The Complaint is utterly lacking in this respect.
 9
              B.    The Complaint Fails to Adequately Plead Scienter With Respect to Any
10                  Sarbanes-Oxley Certification.
11            The Complaint also fails to adequately plead scienter. The PSLRA requires a
12    plaintiff to allege with particularity facts that raise a “strong inference” a defendant acted
13    with scienter — a “form of intentional or knowing misconduct that rises above “mere
14    recklessness” and represents “an extreme departure from the standards of ordinary care,
15    and which presents a danger of misleading buyers or sellers that is either known to the
16    defendant or so obvious that the actor must have been aware of it.” Zucco Partners, LLC
17    v. Digimarc Corp., 552 F.3d 981, 991 (9th Cir. 2009) (quotations omitted). To qualify as
18    a “strong inference,” the “inference of scienter must be more than merely plausible or
19    reasonable—it must be cogent and at least as compelling as any opposing inference of
20    nonfraudulent intent.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 314
21    (2007). A “court must compare the malicious and innocent inferences cognizable from the
22    facts pled in the complaint, and only allow the complaint to survive a motion to dismiss if
23    the malicious inference is at least as compelling as any opposing innocent inference.”
24    Zucco, 552 F.3d at 991 (citation omitted). Here, Plaintiffs’ allegations fall far short of the
25    mark.
26            The Ninth Circuit has held that a Sarbanes–Oxley certification is “only probative of
27    scienter if the person signing the certification was severely reckless” in signing it. Glazer
28    Capital Mgmt., LP v. Magistri, 549 F.3d 736, 747 (9th Cir. 2008) (quotations omitted).
                                                        22
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1    Other Circuits have elaborated further, holding that there must be facts showing that the
 2    officer who signed the certification had reason to know that it was false “due to the presence
 3    of glaring accounting irregularities or other red flags.” Indiana Elec. Workers' Pension
 4    Trust Fund IBEW v. Shaw Grp., Inc., 537 F.3d 527, 545 (5th Cir. 2008) (quoting Garfield
 5    v. NDC Health Corp., 466 F.3d 1255, 1266 (11th Cir. 2006)). Plaintiffs plead no such facts
 6    in the Complaint.
 7          The Complaint alleges that Illumina had missed its earnings guidance on three
 8    occasions in the past, for a variety of different reasons. See Compl. ¶ 64. But the mere
 9    fact that a company missed earnings forecasts on prior occasions is hardly a “glaring . . .
10    irregularity” or “red flag” that would make it “severely reckless” for a defendant to certify
11    the adequacy of its internal controls. Financial projections are inherently uncertain. See
12    In re Adobe Sys., Inc. Sec. Litig., 787 F. Supp. 912, 919 (N.D. Cal. 1992) (“forward-looking
13    statements — and earnings projections in particular — are uncertain by their very nature”).
14    As a result, a company may have perfectly robust internal controls and forecasting
15    processes yet still miss its earnings guidance.
16          Similarly, there is no merit to Plaintiffs’ effort to manufacture an inference of
17    scienter from the fact that Illumina took subsequent “remedial measures” to improve its
18    financial forecasting following its third quarter 2016 earnings shortfall. Compl. ¶¶ 76-77.
19    A plaintiff must plead facts demonstrating that a defendant acted with scienter at the time
20    of a challenged statement or omission. See In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541,
21    1549 (9th Cir. 1994), superseded by statute on other grounds as stated in SEC v. Todd, 642
22    F.3d 1207, 1216 (9th Cir. 2011) (a plaintiff must set forth “an explanation as to why the
23    disputed statement was untrue or misleading when made”); see also City of Roseville
24    Employees' Ret. Sys. v. Sterling Fin. Corp., 963 F. Supp. 2d 1092, 1109 (E.D. Wash. 2013)
25    (“The fact that a statement is later discovered to be untrue does not mean that, by default,
26    the statement was untrue at the time it was made.”). Allegations that Illumina subsequently
27    took steps to improve the accuracy of its forecasting say nothing about the Individual
28    Defendants’ state of mind when they signed Sarbanes-Oxley certifications in August of
                                                        23
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1    2016. See Wade v. Wellpoint, Inc., 740 F. Supp. 2d 994, 1005 (S.D. Ind. 2010) (“Braly’s
 2    attempt to improve the accuracy of WellPoint’s medical claims forecasting certainly does
 3    not create a ‘strong inference’ that she recklessly disregarded the falsity of her statements
 4    on January 23.”). Drawing an inference of scienter from Illumina’s efforts to improve its
 5    forecasting is not only illogical, but inconsistent with basic rules of evidence governing the
 6    admissibility of subsequent remedial measures and the public policy embodied in such
 7    rules. See Fed. R. Evid. 407 (subsequent remedial measures not admissible as proof of
 8    culpable conduct); Pugh v. Tribune Co., 521 F.3d 686, 695 (7th Cir. 2008) (citing Fed. R.
 9    Evid. 407 and holding that “adding a certification requirement does not show that Tribune’s
10    existing controls were insufficient”); In re CIT Grp., Inc. Sec. Litig., 349 F. Supp. 2d 685,
11    691 n.6 (S.D.N.Y. 2004) (citing Fed. R. Evid. 407 and holding that drawing inferences of
12    scienter based on “subsequent remedial measures would do nothing but dissuade
13    restatements and corrections of financial data”).
14          Finally, in determining whether scienter has been adequately pleaded, a court must
15    consider not only the “malicious . . . inferences” urged by the plaintiff but any opposing
16    “innocent inference” that is cognizable from the “facts pled in the complaint” and materials
17    which the court may examine in ruling on a motion to dismiss. Zucco, 552 F.3d at 981.
18    Here, the record is utterly inconsistent with the theory that any of the Defendants acted
19    intentionally or with “deliberate recklessness” (the minimum level of intent necessary to
20    demonstrate scienter, see id. at 991) in an effort to mislead investors as to the accuracy of
21    Illumina’s earnings guidance. Far from misleading investors as to the reliability of
22    earnings projections, the Defendants repeatedly warned that projections were forward-
23    looking statements that might differ materially from actual results for many reasons. Given
24    these warnings, it is simply not plausible to conclude that the Defendants intended to
25    mislead investors as to the reliability of any financial forecast. See Identiv, 2017 WL
26    35496, at *12 (defendant’s disclosures weighed against inference of scienter).
27

28
                                                        24
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1    III.   Plaintiffs’ Section 20(a) Claim Should Be Dismissed.
 2           To establish “controlling person” liability under Section 20(a), a plaintiff must
 3    demonstrate a primary violation of the securities laws and that “‘the defendant exercised
 4    actual power or control over the primary violator.’” Zucco, 552 F.3d at 990 (quoting No.
 5    84 Employer–Teamster Joint Council Pension Trust Fund v. Am. W. Holding Corp., 320
 6    F.3d 920, 945 (9th Cir. 2003)). Here, because Plaintiffs have failed to plead a primary
 7    violation of Section 10(b), their Section 20(a) claims necessarily fail. See id. (“Section
 8    20(a) claims may be dismissed summarily . . . if a plaintiff fails to adequately plead a
 9    primary violation of section 10(b).”).
10
                                                 CONCLUSION
11
             For the foregoing reasons, the Amended Complaint should be dismissed.
12
                                                  Respectfully submitted,
13
      Dated: July 31, 2017                        COVINGTON & BURLING LLP
14
                                                  By:    /s/Mark P. Gimbel
15
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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
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 1                                 CERTIFICATE OF SERVICE
 2                 The undersigned hereby certifies that a true copy of the following document
 3    has been served on July 31, 2017 to all counsel of record who are deemed to
 4    have consented to electronic service via the Court's CM/ECF system per Civil
 5    Local Rule 5.4:
 6
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
 7           DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
 8
            Any other counsel of record will be served by electronic mail, facsimile,
 9
      and/or overnight delivery.
10
            I declare under penalty of perjury under the laws of United States that the
11
      foregoing is true and correct and that this certificate of service was executed on
12
      July 31, 2017 at Los Angeles, California.
13

14
                                                              /s/Mark Y. Chen
15                                                            Mark Y. Chen
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                                           CERTIFICATE OF SERVICE
                                                                                     16-CV-3044-L-MDD
